

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-79,741-01






EX PARTE BENNIE DARRYL SCOTT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 2010-667-C1  IN THE 19TH DISTRICT COURT


FROM MCLENNAN COUNTY




	


	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of two counts of
endangering a child and sentenced to five years' imprisonment for each count.  He did not appeal
his conviction.

	Applicant contends that his plea was involuntary because the plea agreement cannot be
followed.  

	Applicant has alleged facts that, if true, might entitle him to relief.  In these circumstances,
additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294 (Tex. Crim.
App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court shall order
counsel to respond to Applicant's claim that his plea was involuntary.  The trial court may use any
means set out in Tex. Code Crim. Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court
may rely on its personal recollection.  Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent.  
If Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact and conclusions of law as to whether Applicant
pled guilty pursuant to an agreement that this sentence would run concurrently with a federal
sentence.  If this was the case, the trial court shall make specific findings addressing whether
Applicant's sentences are being run concurrently with a federal sentence and detailing how his
sentences are being calculated. The trial court shall also make any other findings of fact and
conclusions of law that it deems relevant and appropriate to the disposition of Applicant's claim for
habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be forwarded to this Court within 120 days of the date of this order.  Any extensions of time shall
be obtained from this Court. 

Filed: August 21, 2013

Do not publish


